                                     EXHIBIT 1 – PROPOSED ORDER


                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF ALABAMA
                                    NORTHERN DIVISION

 In re:                                                     )
                                                            )     Case No.: 20-81688-CRJ11
 REMINGTON OUTDOOR                                          )
 COMPANY, INC., et al., 1                                   )     Chapter 11
                                                            )
                                                            )     Jointly Administered
          Debtors.                                          )
                                                            )

                              ORDER APPROVING SETTLEMENT
                           PAYMENT TO THE SANDY HOOK FAMILIES

                   This matter having come before the Court on the motion (Dkt. No. ___, the

 “Motion”) 2 by Ironshore Specialty Insurance Company (“Ironshore”) for entry of an order,

 pursuant to Paragraph 98 of the Confirmation Order in this case, 3 approving the Insurers’

 proposed settlement payment to the Sandy Hook Families, 4 as set forth in the Motion and that



 1        The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, as
 applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI Operating
 Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc. (3522); RA
 Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655); Huntsville
 Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor Services, LLC
 (2405) (collectively, the “Debtors”).
 2
         Capitalized terms used but not defined herein shall have the meanings given to them in the
 Motion and/or the Joint Chapter 11 Plan of the Debtors, the Official Committee of Unsecured Creditors, and
 Exit Term Loan Lenders (Dkt. No. 1658-1, the “Plan”), as applicable.
 3
         Findings of Fact, Conclusions of Law, and Order Modifying and Confirming the Joint Chapter 11 Plan of
 the Debtors, the Official Committee of Unsecured Creditors, and Exit Term Lenders, Dkt. No. 1658 (the
 “Confirmation Order”)
 4
         The “Sandy Hook Families” means, collectively, the following, who are all of the plaintiffs in
 the Soto Action: Donna L. Soto, as Administratrix of the Estate of Victoria Leigh Soto; Ian and
 Nicole Hockley, as Co-Administrators of the Estate of Dylan Christopher Jack Hockley; David C.
 Wheeler, Administrator of the Estate of Benjamin A. Wheeler; Mary A. D’Avino, as Administratrix
                                                                                      (Continued . . .)

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 certain Settlement Agreement and Release dated February 14, 2022 (the “Settlement

 Agreement”); and the Court having reviewed the Motion and determined that the relief

 requested in the Motion (a) is in the best interests of the Debtors, the ROC Liquidation Estates,

 and other parties in interest and (b) does not negatively affect any applicable creditor of the

 Debtors; and upon the record herein; and after due deliberation thereon; and good and

 sufficient cause appearing therefore, it is hereby FOUND AND DETERMINED THAT:

                A.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

 and 1334 and the General Order of Reference of the U.S. District Court for the Northern

 District of Alabama dated July 16, 1984, as amended July 17, 1984. This matter is a core

 proceeding pursuant to 28 U.S.C. § 157(b)(2)(A). The predicates for the relief granted herein are

 Paragraphs 98 and 138 of the Confirmation Order. Venue in this Court is proper pursuant to 28

 U.S.C. §§ 1408 and 1409.

                B.      This Order constitutes a final and immediately appealable order within the

 meaning of 28 U.S.C. § 158(a).

                                     Retention of Jurisdiction

                C.      It is necessary and appropriate for this Court to retain jurisdiction to

 enforce the terms and provisions of this Order.

                                       Notice of the Motion

                D.      Ironshore has provided due and adequate notice of the Motion, the



 of the Estate of Rachel Marie D’Avino a/k/a Rachel M. D’Avino; Mark and Jacqueline Barden, as
 Co-Administrators of the Estate of Daniel G. Barden; William D. Sherlach, as Executor of the
 Estate of Mary Joy Sherlach, and William D. Sherlach, Individually; Neil Heslin and Scarlett Lewis,
 as Co-Administrators of the Estate of Jesse McCord Lewis; Veronique de la Rosa and Leonard
 Pozner, as Co-Administrators of the Estate of Noah Samuel Pozner; and Gilles J. Rousseau, as
 Administrator of the Estate of Lauren G. Rousseau.

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 hearing on the Motion, and the subject matter and terms of the Settlement Agreement to all

 parties in interest pursuant to Bankruptcy Rule 2002. Without limiting the generality of the

 foregoing, adequate notice has been provided, and a reasonable opportunity to object or be

 heard with respect to the Motion and the relief requested therein has been afforded, to all parties

 in interest, including without limitation: (i) all persons or entities that filed a notice of

 appearance and demand for service of papers in the Chapter 11 Cases, via service through

 CM/ECF; (ii) the Sandy Hook Families; (iii) Joann Harris and Benjamin Harris; (iv) Precious

 Seguin; (v) the Plan Administrator; (vi) E. I. du Pont de Nemours and Company and Sporting

 Goods Properties, Inc.; and (vii) each of the Insurers.

                 E.      The foregoing notice was good, adequate, and sufficient and is the best

 notice practicable under the circumstances of these Chapter 11 Cases and constitutes due,

 sufficient, adequate, and timely notice to all Persons entitled thereto in accordance with the

 requirements of the Bankruptcy Code, the Bankruptcy Rules, the Confirmation Order, the

 applicable Local Rules of this Court, and the procedural due process requirements of the United

 States Constitution. Notice of the relief requested by the Motion has been provided by means

 reasonably calculated to reach all interested parties and reasonably convey all the required

 information to inform all those Persons affected by this Order, and a reasonable time for a

 response and an opportunity to object to the relief requested was afforded to all such Persons.

 No other or further notice of the Motion or of this Order is necessary.

                         Sound Business Judgment and Reasonableness

                 F.      The payment of the Settlement Amount (as defined in the Settlement

 Agreement) would have no impact on the Debtors’ remaining GL Insurance Assets or other

 Tort Claims covered by the same Policies. Mr. and Mrs. Harris and Ms. Seguin are the only


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 persons or entities other than the Sandy Hook Families known to have asserted claims that

 could potentially be covered under the Policies. Because the U.S. Court of Appeals for the

 Tenth Circuit affirmed a grant of summary judgment in favor of Remington Arms Company,

 LLC against Mr. and Mrs. Harris, they hold no cognizable interest in, or claim against, the

 Policies or their proceeds. The interests of Ms. Seguin are fully protected by the terms of the

 Settlement Agreement.

                G.     The Settlement is proposed in good faith and is the product of arms’-

 length negotiations that have occurred among the Sandy Hook Families, the Insurers, and the

 Plan Administrator over an extended period through experienced counsel

                NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND

 DECREED THAT:

                1.     The Motion is GRANTED, and the payment of the Settlement Amount

 to the Sandy Hook Families pursuant to the terms and conditions of the Settlement Agreement

 are APPROVED in all respects, pursuant to Paragraph 98 of the Confirmation Order.

                2.     The Insurers are authorized to make, and the Sandy Hook Families are

 authorized to receive, the Settlement Amount. The Insurers, the Plan Administrator, and the

 Sandy Hook Families are authorized to perform their respective obligations as set forth in the

 Settlement Agreement.

                3.     Each Insurer is only responsible for paying its own Insurers’ Settlement

 Share (as defined in the Agreement); under no circumstances is an Insurer obligated to pay

 another Insurer’s Settlement Share, as the Insurers’ respective obligations are several and not

 joint.

                4.     For the reasons set forth herein, any objections to the Motion and the


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 relief requested therein and granted in this Order that have not been withdrawn, waived, or

 settled, and all reservations of rights included in such objections, are overruled on the merits or

 have otherwise been adequately addressed by the terms of this Order.

                5.      James River shall reserve $500,000 to pay Ms. Seguin, if the United States

 Court of Appeals for the Fifth Circuit enters a Final Order affirming the judgment in her favor.

 If Ms. Seguin’s judgment is reversed by a Final Order entered by the Fifth Circuit, then James

 River shall pay the $500,000 reserved for Ms. Seguin to the Sandy Hook Families, in accordance

 with the terms of the Settlement Agreement, and without any further need to seek approval

 from this Court.

                6.      This Order shall be effective and enforceable immediately upon entry and

 its provisions shall be self-executing and shall not be stayed under Bankruptcy Rule 6004(h).

 The provisions of this Order are non-severable and mutually dependent.

                7.      This Court shall retain jurisdiction to interpret and enforce the provisions

 of this Order and further to hear and determine any and all disputes with respect to this Order,

 including without limitation any disputes among the Parties with respect to the interpretation or

 enforcement of this Order (including after the closing of the Chapter 11 Cases).

                8.      From the date of entry of this Order until the date this Order has become

 a Final Order, or such earlier termination of the Settlement Agreement pursuant to Section 4.2

 thereof, the Parties shall: (a) not file any new motions, briefs, pleadings, objections, or other

 requests for relief against each other in the Soto Action; (b) provide open extensions of time for

 each other; and (c) otherwise reasonably cooperate with each other as may be necessary to avoid

 unnecessary litigation expenses.

                9.      From the date of entry of this Order until the date this Order has become


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 thereof, no Party shall take any discovery in the Soto Action, including, without limitation,

 requiring any other Party or any non-Party to respond to discovery, produce any documents, or

 appear for a deposition, except as expressly permitted under the terms of the Settlement

 Agreement.

                 10.      This Order shall be binding upon the following, and upon each of their

 respective successors and assigns: (a) the Insurers; (b) the Debtors; (c) the Sandy Hook

 Families; (d) the Plan Administrator; (e) all persons having or asserting any interest in the

 Policies, including without limitation Mr. and Mrs. Harris and Ms. Seguin; (f) all other creditors

 of the Debtors; (g) all other insurers of the Debtors; (h) all other insureds under the Policies;

 and (i) all other parties in interest.

 Dated: March ____, 2022

                                               IT IS SO ORDERED:


                                               _____________________________
                                               United States Bankruptcy Judge




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